Case 2:04-cr-20241-.]DB Document 102 Filed 08/30/05 Page 1 of 2 Page|D 100

FILED

    

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG 30

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UNITED sTATES oF AMERICA, W!D cf et tt;‘~_'ttPHts `
Ptaintiff,
v. No. 04-20241~B/P

CURTIS BYRD, JR. ,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is counsel for Defendant Curtis Byrd's Motion for a Bill of Particulars
filed on August 26, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge‘s order shall be made Withirl ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the

objections

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IT rs so oRDERED mrs 30_ day of Augusr, 2005.

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T. DANIEL BREEN \
NI ED sTATEs DISTRICT JUDGE

This document entered orr the docket eheet in compliance

With Flule 55 and/er 32(b) FHCrP on 8 " 5 l ~' 05 _

   

 

  

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Honorable J. Breeri
US DISTRICT COURT

